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                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                               DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                             2/6/2018
                                                                           DATE FILED: ______________
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                                                               :
ENERGY INTELLIGENCE GROUP, INC. and                            :
ENERGY INTELLIGENCE GROUP (UK)                                 :
LIMITED,                                                       :
                                                               :
                                    Plaintiffs,                :   ORDER
                                                               :
                  -v-                                          :   17-CV-1508 (RA) (JLC)
                                                               :
MIZUHO BANK, LTD.,                                             :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        By Order of Reference dated February 5, 2018 (Dkt. No. 35), Judge Abrams referred this

case to me for general pretrial supervision, including pending discovery disputes (Dkt. Nos. 33-

34). Accordingly, the Court will hold a conference to address the disputes on February 13,

2018 at 3:00 p.m. in Courtroom 21D, United States Courthouse, 500 Pearl Street, New York,

New York.

        SO ORDERED.

Dated: New York, New York
       February 6, 2018
